Case 2:17-cv-00070-JRG-RSP Document 21 Filed 05/17/17 Page 1 of 3 PageID #: 86




                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION
                                                 	  
DISPLAY TECHNOLOGIES, LLC,

                                                        Civil Action No. 2:17-cv-00070-JRG-RSP
                      Plaintiff,
                                                           CONSOLIDATED LEAD CASE
               v.
                                                             JURY TRIAL DEMANDED
HTC AMERICA, INC., et al.,

                      Defendants.


                    JOINT MOTION TO STAY ALL DEADLINES
                         AND NOTICE OF SETTLEMENT

        Plaintiff Display Technologies, LLC and Defendant LG Electronics USA, Inc. hereby

notify the Court that all matters in controversy in the consolidated action between these two

parties, and only these two parties, have been settled, in principal. The parties request a stay of

30 days on the setting of a scheduling conference or the entry of a Docket Control Order to

afford them time to complete the execution of a settlement agreement and to submit appropriate

dismissal papers.




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Case 2:17-cv-00070-JRG-RSP Document 21 Filed 05/17/17 Page 2 of 3 PageID #: 87




      DATED May 17, 2017.                 Respectfully submitted,

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                                      2
Case 2:17-cv-00070-JRG-RSP Document 21 Filed 05/17/17 Page 3 of 3 PageID #: 88




                               CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing has been served upon counsel of

record via the Court’s CM/ECF system on May 17, 2017.


                                                   /s/ Thomas C. Wright




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